Case 8:10-cr-00400-E_K-TGW Document 143 Filed 02/01/16 Page 1 of 2 PageID 332




                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   UNITED STATES OF AMERICA,

   vs.                                                     CASE NO. 8:10CR400-T-EAK-TGW

   JAIRO ALVAREZ-CAICEDO
                                               /

                                               ORDER

          This cause comes before the Court on notice from the Office of the Federal Defender
   that it has satisfied the requirements set forth in the Court’s Omnibus Order In Re:
   Amendment 782, United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus
   Order”), and notification that the office will not be filing a Motion for Sentence Reduction
   under Amendment 782 on behalf of Defendant Alvarez-Caicedo pursant to the retroactive
   application of revised sentencing guidelines (Doc. 141). The Defendant in this case has filed
   a further motion for reduction in sentence under Amendment 782. The Court will allow the
   Defendant to file a a motion requesting a reduction before it determines the matter.
   Accordingly, it is.
          ORDERED that defendant has up to and including March 31, 2016, to file a motion

   and memorandum in support of his contention that his sentence should be reduced. The

   government is directed to file a response to any filings within fifteen days of the date of any

   filing from the defendant. The Court will rule on the issue as soon as possible after that date.

   The Federal Defender is withdrawn from this matter.

          This 1st day of February, 2016.
Case 8:10-cr-00400-E_K-TGW Document 143 Filed 02/01/16 Page 2 of 2 PageID 333




   Copies to: All parties and counsel of record
